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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í84)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,328 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                     Mar 21, 2019
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                  SCHEDULE CTOí84 í TAGíALONG ACTIONS



  DIST     DIV.      C.A.NO.       CASE CAPTION


CALIFORNIA SOUTHERN

  CAS        3       19í00420      The City of San Diego et al v. Purdue Pharma L.P. et al

MAINE
                                                                                  Opposed 3/20/19
                                   KENNEBEC COUNTY v. PURDUE PHARMA LP et
  ME         1       19í00096      al                               Opposed 3/20/19
                                   CITY OF BIDDEFORD v. PURDUE PHARMA LP et
  ME         2       19í00092      al                                Opposed 3/20/19
                                   CUMBERLAND COUNTY v. PURDUE PHARMA LP
  ME         2       19í00093      et al

MASSACHUSETTS

                                   Blue Cross and Blue Shield of Louisiana et al v. Insys
  MA         1       18í12538      Therapeutics, Inc. et al Opposed 3/20/19
                                   City of Beverly v. Amerisourcebergen Drug Corporation
  MA         1       19í10398      et al

MISSISSIPPI NORTHERN

                                   Chickasaw County, Mississippi v. Amerisourcebergen
  MSN        1       19í00044      Drug Corporation et al
                                   Lee County, Mississippi v. Amerisourcebergen Drug
  MSN        1       19í00045      Corporation et al
                                   City of Starkville, Mississippi v. Amerisourcebergen
  MSN        1       19í00046      Drug Corporation et al
                                   City of Shannon, Mississippi v. Amerisourcebergen
  MSN        1       19í00047      Drug Corporation et al
                                   City of Verona, Mississippi v. Amerisourcebergen Drug
  MSN        1       19í00048      Corporation et al
                                   City of Nettleton, Mississippi v. Amerisourcebergen
  MSN        1       19í00050      Drug Corporation et al
                                   Yalobusha County, Mississippi v. Amerisourcebergen
  MSN        3       19í00042      Drug Corporation et al
                                   Tate County, Mississippi v. Amerisourcebergen Drug
  MSN        3       19í00044      Corporation et al
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                                   Panola County, Mississippi v. Amerisourcebergen Drug
  MSN        3       19í00045      Corporation et al
                                   Carroll County, Mississippi v. Amerisourcebergen Drug
  MSN        4       19í00034      Corporation et al

MISSISSIPPI SOUTHERN

                                   George County, Mississippi v. Amerisourcebergen Drug
  MSS        1       19í00120      Corporation et al

NEW YORK NORTHERN

                                   The County of Albany, New York v. Cardinal Health,
  NYN        1       19í00273      Inc. et al
